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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 ALBERT KOETSIER,

        Plaintiff,                                              Case No.: 1:24-cv-00664

 v.                                                             Judge Martha M. Pacold

 THE PARTNERSHIPS AND UNINCORPORATED                            Magistrate Judge Jeffrey Cole
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.



                              SATISFACTION OF JUDGMENT

        WHEREAS, a judgment was entered in the above action on March 21, 2024 [38] in favor

of Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this judgment

and hereby fully and completely satisfy the same as to the following Defendants:

              NO.                                   DEFENDANT
              109                                     Creoate


        THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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             22 2024
DATED: April _,                                          Respectfully submitted,



                                                         Keith A. Vogt, Esq. (Bar No. 6207971)
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                                                         Chicago, Illinois 60604
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                                                         E-mail: keith@vogtip.com

                                                         ATTORNEY FOR PLAINTIFF(S)




                                                          22 of April, 2024.
Subscribed and sworn before me by Keith A. Vogt, on this ___

Given under by hand and notarial seal.




                                                  STATE OF __      !_I_/
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                                                                           V\...-V 1_'_j---­


                                                                   (!yp K
                                                  COUNTY OF --=-----------


                                                                   GRISELDA DELGADO
                                                                     OFFICIAL SEAL
                                                      • N.otary Public, State of Illinois
                                                                  My Commission Expires
                                                                     October 05, 2026
